Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 1 of 55 Pageid#: 1765


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 1




    1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
    2                        Charlottesville Division
    3
        - - - - - - - - - - - - - - - - - -
    4                                             )
           LORI FITZGERALD, et al,                )
    5                                             )
                          Plaintiffs,             )    CIVIL ACTION NO.
    6                                             )    3:20cv44
           v.                                     )
    7                                             )
           JOSEPH WILDCAT, SR., et al,            )
    8                                             )
                       Defendants.                )
    9   - - - - - - - - - - - - - - - - - -
  10
                             TRANSCRIPT OF PROCEEDINGS
  11
                        (VIDEOCONFERENCE MOTIONS HEARING)
  12
                             Charlottesville, Virginia
  13
                                 September 21, 2022
  14
  15
        BEFORE:    THE HONORABLE NORMAN K. MOON
  16               Senior United States District Judge
  17
        APPEARANCES:
  18
                FOR THE PLAINTIFFS:
  19
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  23
                FOR THE DEFENDANTS:
  24
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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 2 of 55 Pageid#: 1766


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 2




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    9                                    * * * * *
  10
  11               (Proceedings commenced at 2:00 p.m.)
  12               THE COURT:    All right.    Are all the parties on the
  13    call?
  14               THE CLERK:    Yes, Judge.
  15               THE COURT:    All right.    You may call the case.
  16               THE CLERK:    Lori Fitzgerald and others v. Joseph
  17    Wildcat, Sr., and others, case number 3:20cv44.
  18               THE COURT:    Are the plaintiffs ready?
  19               MR. GUZZO:    Yes, Your Honor.
  20               THE COURT:    Are the defendants ready?
  21               MR. MCANDREWS:    Yes, Your Honor.
  22               THE COURT:    Okay.    We're here on the defendants'
  23    motion, so, counsel, whoever is going to be first, may
  24    proceed.
  25               MR. MCANDREWS:    Your Honor, this is Patrick




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 3 of 55 Pageid#: 1767


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 3




    1   McAndrews from Spencer Fane, and I'm going to be talking on
    2   behalf of all the defendants in this case.
    3              THE COURT:    Good afternoon.
    4              MR. MCANDREWS:    Good afternoon.     We're here, again,
    5   on defendants' Motion to Dismiss, Motion to Compel
    6   arbitration, and to strike class claims.
    7              Defendants are three individuals associated with the
    8   Lac du Flambeau Band of the Lake Superior Chippewa Indians.
    9   The tribe is a federally-recognized Indian tribe, and it has
  10    a reservation in a remote section of northern Wisconsin.
  11               With that remoteness comes limited resources and job
  12    opportunities.     So in order to rectify that, the tribe
  13    started the LDF or the Lac du Flambeau Business Development
  14    Corp.   I'll refer to that as the LDF Bs. Corp. throughout
  15    this hearing.
  16               What LDF Bs. Corp. does is they act as the holding
  17    company for all the tribes non-gaming businesses.           This
  18    includes a construction company, a campgrounds, the tribe or
  19    the reservation's only grocery store, the tribe's vocational
  20    school, and finally, the tribe's lending business known as
  21    LDF Holdings.
  22               Now, LDF Holdings was established by the tribe, and
  23    it holds about 20 different lending subsidiary tribal
  24    companies, and those tribal entities provide online short
  25    term loans for customers.       LDF Holdings employs roughly 50




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 4 of 55 Pageid#: 1768


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 4




    1   people on the reservation.
    2              The plaintiffs are Virginia and Georgia residents
    3   who entered loan agreements and took out loans with one of
    4   LDF Holding's tribal lending subsidiary companies.
    5              Now, at this point you're probably wondering why the
    6   tribe or the company that actually loaned the money to
    7   plaintiffs are not named in this lawsuit.          Plaintiffs, in an
    8   attempt to avoid the argument of tribal sovereign immunity,
    9   have essentially plucked three individuals who were either
  10    associated with the tribe, the tribal council, or the lending
  11    business and has brought RICO claims against these
  12    individuals.    That, Your Honor, is the fundamental and fatal
  13    problem with the plaintiffs' lawsuit.
  14               Now, the three defendants in this case, and the only
  15    defendants in this case, are individuals.          The first
  16    individual defendant is Joseph Wildcat.         Mr. Wildcat was the
  17    former president of the tribal council, which is the
  18    governing body of the tribe.       He's being sued in both his
  19    official and individual capacity.
  20               The second defendant is Nicole Reynolds-Chapman, and
  21    she's the former president of the board of the LDF Business
  22    Development, Corp., which is, again, the holding company for
  23    all of the tribe's non-lending businesses, and she's being
  24    sued in her individual capacity.
  25               The final defendant is Jessi Lorenzo, and she is the




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 5 of 55 Pageid#: 1769


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 5




    1   former president of LDF Holdings, which is one of the
    2   subsidiaries under the LDF Business Development, Corp., and
    3   she is being sued in her individual capacity.
    4              Now, as I stated earlier, plaintiffs have brought a
    5   RICO cause of action alleging that defendants Wildcat,
    6   Reynolds, and Lorenzo individually conspired to collect
    7   unlawful debt under 18 USC 1964.
    8              They also allege that these individual defendants
    9   conspired to operate an enterprise to issue and collect loans
  10    in violation of state lending laws.        Plaintiffs have also
  11    brought a declaratory judgment action asking the Court to
  12    find all of the loans issued by the LDF tribal lending
  13    subsidiaries to be void as a matter of law.
  14               Finally, this is styled as a class complaint in that
  15    plaintiffs are seeking to certify a nationwide class of
  16    borrowers who took out loans with one of the 20 LDF Holding
  17    tribal lending subsidiaries, and they're seeking the return
  18    of all monies paid to all these LDF Holding subsidiaries.
  19               This leads us to the first basis for dismissal, Your
  20    Honor.   Plaintiffs have fundamentally failed to state a claim
  21    for relief.    Again, plaintiffs' claims are that these
  22    individual defendants conspired to violate state lending and
  23    usury laws.
  24               Now, in order to state a plausible RICO claim, as
  25    the Court knows, you must allege a conduct, number two, of




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 6 of 55 Pageid#: 1770


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 6




    1   enterprise through a pattern of racketeering, in this case
    2   it's the collection of unlawful debt, and there must be an
    3   injury to plaintiff by reason of the RICO enterprise.
    4              The first issue, or the first problem with the way
    5   the RICO causes of action were pled is that plaintiffs have
    6   not sufficiently pled the existence of an actual enterprise.
    7              Now, an enterprise, of course, is an association or
    8   group of people associated together for a common purpose;
    9   however, under the Intracorporate Conspiracy Doctrine a
  10    corporation acting in concert in an ordinary course of
  11    business with its agents and employees is not a RICO
  12    enterprise, and that's what we have here, Your Honor.
  13               Plaintiffs are alleging that these individual
  14    defendants worked with either the companies they were
  15    employed by, in Ms. Lorenzo's case, or which they sat on the
  16    board of, which is Ms. Reynolds' case, or the tribe, and that
  17    they conspired together into one enterprise conspiracy.
  18               The second problem with this RICO cause of action is
  19    plaintiffs have not alleged an actual pattern of
  20    racketeering.    Again, here the racketeering activity is the
  21    collection of the unlawful loans.
  22               Noticeably absent from plaintiffs' complaint is any
  23    actual allegations about the loans these plaintiffs took out.
  24    It does not state the actual tribal lending company which the
  25    loan was provided by.




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 7 of 55 Pageid#: 1771


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 7




    1              It does not provide the date the loans were
    2   provided, how much principal was given, how much was paid
    3   back, and what interest was paid back.         None of those
    4   allegations are in the complaint, so there hasn't been a
    5   pattern of racketeering that has been sufficiently pled.
    6              Just as an example of the conclusory nature of the
    7   allegation pled --
    8              THE COURT:    Let me ask you, do you need the pattern
    9   when you're alleging the loan?
  10               MR. MCANDREWS:    So, Your Honor, for the pattern you
  11    actually need to allege what these individual defendants or
  12    how these individual defendants collected on the loan, and
  13    since there is no allegations of how they collected on it,
  14    right, they haven't alleged that they paid back principal or
  15    interest or really anything on the loan, so you do need to
  16    allege what these individual defendants did to collect on the
  17    quote/unquote "unlawful loan" to prove the pattern.           But,
  18    again, there is no allegation specifically about this loan.
  19               THE COURT:    What do you mean what they did to
  20    collect it when just if it was an illegal loan, no matter how
  21    they collected, it would still be an illegal loan, wouldn't
  22    it?
  23               MR. MCANDREWS:    Well, but they haven't even
  24    explained how these individual defendants actually issued the
  25    loans.




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 8 of 55 Pageid#: 1772


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 8




    1              If you remember, Your Honor, the tribal lending
    2   subsidiary -- I believe in Mr. Williams' case Niizhwaaswi LLC
    3   was actually the lender of that, so they have not alleged how
    4   these individual defendants got Niizhwaaswi to collect on the
    5   loan and issue illegal loans, and that's the problem.
    6              There is not this connection, because you've got to
    7   remember none of the actual tribal entities have been named
    8   in this lawsuit.     These are only individuals who had
    9   shoestring ties to these organizations.
  10               Now, again -- sorry, Your Honor.
  11               THE COURT:    Go ahead.
  12               MR. MCANDREWS:    So just as an example of some of the
  13    conclusory allegations in this complaint, I point the Court
  14    to paragraph 58, and that is for -- this is directed at
  15    defendant Joseph Wildcat, and it's almost verbatim for all
  16    the defendants.     It's kind of restated.
  17               I quote, "Upon information and belief, defendant
  18    Joseph Wildcat, Sr. was instrumental in furthering the
  19    illegal lending business and agreed to the collection of
  20    unlawful debt."
  21               But, again, they don't explain it.        There are no
  22    further allegations regarding those, specifically what
  23    Mr. Wildcat did or what Ms. Lorenzo did or what Ms. Reynolds
  24    did, and that's the fundamental flaw with --
  25               THE COURT:    Well, he knows that he's accused of




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 9 of 55 Pageid#: 1773


        Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 9




    1   collecting an unlawful debt.       I mean, that puts him on
    2   sufficient notice of what he's got to defend, doesn't it?             He
    3   knows these people, Reynolds and whatever their name is, they
    4   borrowed the money.
    5              MR. MCANDREWS:    Well, Your Honor, for Joseph
    6   Wildcat, he was the president of the tribal council, so he
    7   wasn't even involved in the day-to-day operations of this.
    8   You know, he was on -- he oversaw LDF Business Development
    9   Corporation which had a bunch of different businesses, and
  10    one of them was the lending subsidiary.
  11               So, again, the allegations lack any tying up to
  12    these individual defendants because what the plaintiffs do is
  13    they essentially make allegations against the tribe and the
  14    tribal lending company and just say, oh, all these individual
  15    defendants were somehow involved, but they don't actually
  16    explain it, and that's the problem.        They aren't really
  17    alleging a tie.
  18               THE COURT:    The purpose of the pleading is to let
  19    them know what they're accused of so they can defend it.            And
  20    it looks to me that it's pretty -- either he would know
  21    whether he's involved in any loans to these people or not.
  22               MR. MCANDREWS:    They haven't actually alleged that
  23    he was personally involved in the loans.         They've said that
  24    the tribal lending company was and that's what tied it to
  25    him, but because we're dealing with RICO cause of actions,




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 10 of 55 Pageid#: 1774


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 10




    1    there is a heightened pleading standard more than just your
    2    normal causes of action.
    3               I think what would be really instructive for the
    4    Court is to point the Court to the Manago v. Cane Bay
    5    Partners case.     That was a case that was just decided two
    6    weeks ago, and it was in the District Court of Maryland.
    7               In that case it's almost identical to this case,
    8    Your Honor.    It's the same structure where you allege the
    9    tribal lending entities and these individuals conspired to
   10    violate state lending laws.
   11               In that case -- Your Honor, the complaint in Manago
   12    and the complaint here is almost identical.           I mean, word for
   13    word.   We can get into it, but most of the alleged factual
   14    allegations are pretty much word for word identical.
   15               In that case, the Court dismissed on a Motion to
   16    Dismiss the entire complaint, including the RICO cause of
   17    actions, finding that, one, the plaintiffs' group pleading
   18    incorrectly lumps defendants together without specifying
   19    allegations attributable to each individual defendant.
   20               Two, that the allegations establishing the agreement
   21    to participate in the enterprise were conclusory rather than
   22    factual.    And, three, that the complaint was devoid of any
   23    actual facts about the structure and organization of the
   24    alleged RICO enterprise.
   25               The same is true here.      There have been no facts




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 11 of 55 Pageid#: 1775


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 11




    1    that have been alleged that specifically explain the
    2    structure and organization or how each individual defendant
    3    actually participated in the enterprise or agreed to
    4    participate in the enterprise.
    5              Now, the third problem with the lawsuit, Your Honor,
    6    is that plaintiffs have not alleged that they were in fact
    7    injured because they have not explained that they took out a
    8    loan, how much they took out a loan for, or that they've paid
    9    back either principal or interest on that loan.            They
   10    actually haven't even alleged that there was an injury, that
   11    the conspiracy to issue and collect illegal loans has injured
   12    them, because they haven't alleged what was collected on any
   13    of these loans.
   14              THE COURT:     I understand that some of these things,
   15    you know, may be deficiencies, but what have you gained if
   16    these are readily cured by filing an amended complaint?
   17              MR. MCANDREWS:      Your Honor, it would greatly assist
   18    us in discovery and actually finding out what exactly they're
   19    alleging each -- you know, the actual enterprise and what was
   20    agreed to because right now --
   21              THE COURT:     But if they file an amended complaint, I
   22    mean, what I'm asking is, why couldn't they ask to file an
   23    amended complaint and correct most of these things, these
   24    issues?   I don't --
   25              MR. MCANDREWS:      They could have.     In fact, in the




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 12 of 55 Pageid#: 1776


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 12




    1    Manago case I cited earlier, the Court gave the plaintiffs an
    2    opportunity to amend, but the Court in Manago said that,
    3    Look, because there is such a shoestring to these individual
    4    defendants, even how it was repled was still deficient.
    5              But, again, in the Manago case the plaintiffs did
    6    amend, and the complaint was still dismissed for failure to
    7    state a RICO cause of action.
    8              THE COURT:     All right.
    9              MR. MCANDREWS:      As far as the declaratory judgement
   10    action, again, the plaintiffs are asking that the Court find
   11    that the loans should be void as they violate state law.
   12    But, again, just like the RICO claim, they haven't alleged
   13    anything about their loans.       They haven't explained the
   14    loans, who they took out the loans from, the amount.             So you
   15    can't support also the dec action as well.
   16              Now, the second basis for dismissal, and this kind
   17    of goes back to what we were talking about earlier at the
   18    beginning, is that plaintiffs failed to join necessary and
   19    indispensable parties in this case.
   20              When you read this complaint, you can tell it is
   21    pointed at the tribe, LDF Holdings, and its lending
   22    subsidiaries that issued the plaintiffs' loans, right?
   23    That's really the parties that are directed in this lawsuit.
   24              So the fact that they haven't been named, nor can
   25    they be named because of sovereign immunity, makes this




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 13 of 55 Pageid#: 1777


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 13




    1    complaint deficient from the get-go.
    2              The individual defendants cannot get just
    3    adjudication without the tribe's or the TLE's involvement,
    4    and they can't be named because presumably, and maybe by
    5    admission of plaintiffs, they are shielded in a cloak of
    6    tribal sovereign immunity.
    7              THE COURT:     What about injunctive relief?
    8              MR. MCANDREWS:      I believe you're referring to the
    9    ex parte case.     In that, Your Honor, they can seek injunctive
   10    relief if they actually named an individual that has the
   11    authority to stop the conduct.
   12              Again, in Ex Parte Young, that was regarding whether
   13    or not a tribe could set up an off-reservation casino, and
   14    they named the individual in the tribe that actually was
   15    doing that, was actually setting up the non-gaming casino.
   16              Here, again, they haven't alleged facts that any of
   17    these defendants have direct control.         In fact, as I
   18    mentioned earlier, Ms. Reynolds and Ms. Lorenzo are no longer
   19    even at the tribe, and Mr. Wildcat is no longer president of
   20    the tribal council.
   21              Now, the second kind of big component of our motion
   22    is the Motion to Compel arbitration, but, again, you don't
   23    even need to get there if you find that the complaint was
   24    insufficiently pled or that they're indispensable parties.
   25              Nevertheless, the arbitration agreement is at issue,




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 14 of 55 Pageid#: 1778


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 14




    1    and it's specifically at issue for one of the three
    2    plaintiffs, and that's Mr. Williams.         He's the Georgia
    3    borrower.
    4                Mr. Williams signed a loan agreement that contained
    5    an arbitration provision.       He's the only one of the three
    6    plaintiffs that signed an arbitration agreement.            So what
    7    we're asking is his individual claims be sent over to
    8    arbitration.
    9                Now, in plaintiffs' response to our Motion to Compel
   10    Arbitration they fundamentally misunderstand and misstate the
   11    loan agreement and the arbitration provision, so I want to
   12    set the record straight on what's actually said in the
   13    agreements and how they work.
   14                So the loan agreement has a governing law provision
   15    which states that the tribal law and applicable federal law
   16    apply to the loan.      In a separate section called the Dispute
   17    Resolution Provision, there is an informal procedure for if a
   18    borrower wants to go to LDF before any formal proceedings and
   19    try to resolve the dispute.
   20                If they don't feel that they got adequate resolution
   21    in that alternative dispute, informal alternative distribute
   22    procedure, what the agreement says is that doesn't create an
   23    independent cause of action, meaning that the borrower cannot
   24    say that LDF Holdings or its TLEs violated the loan agreement
   25    by not giving adequate informal resolution to their claims.




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 15 of 55 Pageid#: 1779


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 15




    1    So that's a separate provision.
    2              Separate from that is then a whole new provision
    3    called the arbitration provision.         In the arbitration
    4    provision LDF Holdings and its tribal lending subsidiary
    5    state that they offer a limited waiver of their sovereign
    6    immunity to allow claims and disputes of borrowers, including
    7    Mr. Williams, to be brought through arbitration with AAA.
    8              Now, the disputes that Mr. Williams or any borrowers
    9    can bring against LDF Holdings or the tribal lending
   10    subsidiary is all U.S. federal and state law claims,
   11    disputes, and controversies; all common law claims based on
   12    contract, tort, fraud, or other torts; and all claims based
   13    on violation of any state or federal Constitution statute or
   14    regulation.
   15              So a borrower can bring those claims through
   16    arbitration.    That is agreed to in the agreement, and that is
   17    part of the limited waiver.
   18              Now, the arbitration agreement also applies to
   19    claims that a borrower has against the tribe officials and
   20    employees.    So the claims against these individual defendants
   21    would be within the scope of the arbitration agreement.
   22              Now, the arbitration agreement also provides that
   23    the arbitration shall take place in the plaintiff's county of
   24    residence and that LDF Holdings and its tribal lending
   25    subsidiaries will pay for all arbitration costs.




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 16 of 55 Pageid#: 1780


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 16




    1              The arbitration provision notably provides that the
    2    arbitrator shall apply applicable substantive law consistent
    3    with the governing law set forth above, that's tribal law and
    4    federal law, and apply the Federal Arbitration Act and
    5    applicable statute of limitations and shall honor claims of
    6    privilege of recognized law.
    7              Finally, the arbitration provision allows for any
    8    arbitration decision to be filed in any court having
    9    competent jurisdiction.       So, presumably, if Mr. Williams or
   10    any borrowers get an award, they can actually move to enforce
   11    that award in any state or federal court.
   12              Finally, the arbitration agreement does provide a
   13    delegation clause that provides that the scope, validity, and
   14    enforcement is delegated to the arbitrator.
   15              Now, plaintiffs principally argue that the
   16    arbitration agreement is unconscionable, it violates public
   17    policy, and it perspectively waives federal law.            That's
   18    clearly not the case here.
   19              Borrowers are allowed to bring all their claims in
   20    arbitration.    The arbitrator is free to apply applicable
   21    federal law, and if that applicable federal law points them
   22    to apply state law, the arbitrator has the ability to do
   23    that.   It also allows that any arbitration award can be filed
   24    in state or federal court.
   25              Now, plaintiffs cite to a host of tribal lending




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 17 of 55 Pageid#: 1781


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 17




    1    cases where the court did not enforce arbitration provisions
    2    in the loan agreements and found that the arbitration
    3    agreements were procedurally and subsequently unconscionable.
    4              However, none of those cases, not one of the cases
    5    cited by plaintiff is relevant to Mr. Williams' loan
    6    agreement and arbitration provision at issue here in this
    7    case.   Those cases are completely different than the
    8    agreement Mr. Williams signed.
    9              For example, in Hayes v. Delbert, a case cited by
   10    plaintiffs and is a Fourth Circuit case, in that case the
   11    loan agreement contained a governing law section in the loan
   12    agreement that stated that no United States state or federal
   13    law applies to this agreement.
   14              In Dillon v. BMO Harris, also a case cited by
   15    plaintiffs and is a Fourth Circuit Case, in that case the
   16    loan agreement stated, and I quote, "No other state or
   17    federal law or regulation shall apply to this agreement."
   18    That's why the Court found it was unconscionable.
   19              In Gibbs v. Haynes and in Gibbs v. Sequoia Capital,
   20    both cases cited by plaintiff, the choice of law provision in
   21    that loan agreement provided that the loan agreement shall be
   22    governed by tribal law and that the arbitrator shall only
   23    apply tribal law and that the arbitrator's decision must be
   24    consistent with tribal law.       That's not what we have here in
   25    this case.




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 18 of 55 Pageid#: 1782


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 18




    1              Another case cited by the plaintiff that's kind of
    2    interesting is the Dunn v. Global Trust Management case.             Why
    3    this one is interesting is because the Court did find that
    4    this was unconscionable and against public policy, but there
    5    the arbitration provision again said only tribal law applies.
    6              In the Dunn case the borrower -- the loan agreement,
    7    or the arbitration provision said that any arbitration award
    8    could not be filed in court, meaning that the borrower
    9    essentially would get an arbitration award that isn't
   10    enforceable, and that's why it was unconscionable and against
   11    public policy.
   12              That's not what we have in our case.          Again, any
   13    award Mr. Williams gets can be filed and enforced in state
   14    and federal court.
   15              Now, in an attempt to try to manufacture this idea
   16    that the loan agreement perspectively waives federal law,
   17    plaintiffs cite to or try to bring up LDF Holdings Consumer
   18    Financial Service Regulations Ordinance saying that it bars
   19    application of federal law, and that's just not the case.
   20    It's kind of a misunderstanding of the loan agreement.
   21              So as we stated earlier, the loan agreement has a
   22    separate informal dispute resolution provision and then a
   23    separate arbitration provision.        The ordinance applies to the
   24    dispute resolution provision.
   25              It basically says that at that stage the tribe is




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 19 of 55 Pageid#: 1783


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 19




    1    looking at whether or not to resolve it informally.            They
    2    haven't waived any of their immunity.
    3              Immunity isn't waived until the arbitration is
    4    actually brought and they've said yes, we've waived our
    5    sovereign immunity, and federal law does apply.            So it's a
    6    little nuanced, but it's basically a red herring argument.
    7              THE COURT:     May I ask you a question?
    8              MR. MCANDREWS:      Yes.
    9              THE COURT:     If in the arbitration the arbitrator
   10    decides that an interest rate in excess of what Virginia's
   11    usury rate is should apply and that the plaintiffs owe the
   12    usury rate of interest plus principal, what would happen with
   13    such an award as that?
   14              MR. MCANDREWS:      Yeah, so that's kind of a good
   15    point, Your Honor.      So how the arbitrator -- again, it kind
   16    of brings up a broader issue is we're talking in speculation
   17    here of what the arbitrator will and won't do, so a lot of
   18    the arguments advanced by plaintiff really are arguments that
   19    would be advanced if they tried to enter or move to, you
   20    know, an arbitration award, at that point saying, you know,
   21    if they tried to actually enforce the arbitration award,
   22    these arguments would be valid.
   23              But to answer your question, what the arbitrator can
   24    do is they can look to federal law, and if the federal law
   25    points them to apply state law; for example, in the RICO




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 20 of 55 Pageid#: 1784


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 20




    1    cause of action it does that.        It states that an unlawful
    2    debt under RICO is a debt that's illegal under state or
    3    federal law.
    4               So it allows the arbitrator to look at state law,
    5    and if he says, "Yeah, that is a violation of federal law,"
    6    then you have violated the RICO statute.          The arbitrator can
    7    issue an award, and Mr. Williams can go and file that in any
    8    state or federal court to be enforced.
    9               THE COURT:    Okay.    But my question is:      Where the
   10    arbitrator decides that an interest rate above the legal rate
   11    is applicable, can -- I mean, what happens with that, that
   12    award that's not in favor of the plaintiff?           Does he file
   13    that, or what does he do?        How does he overturn that?
   14               MR. MCANDREWS:     So he would file that in any state
   15    or federal court having competent jurisdiction, and he would
   16    argue that the arbitrator misapplied the law in that there
   17    was an error at the arbitrator's level, and that's why the
   18    arbitration award should be invalidated.
   19               Again, then all these arguments plaintiff advanced
   20    would be ripe, but at this stage we're kind of speculating on
   21    how the arbitrator is going to --
   22               THE COURT:    It's hypothetical.      I'm sure at some
   23    point in history an arbitrator has gotten it wrong.            I'm just
   24    curious.    That's not -- I just wanted to know.
   25               MR. MCANDREWS:     I appreciate it.     So a simple




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 21 of 55 Pageid#: 1785


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 21




    1    reading of the arbitration provision, Your Honor, clearly
    2    shows that there is no prospective waiver of federal law.
    3    The arbitrator can apply federal law.
    4              The arbitration agreement is fair, valid, and
    5    conscionable.     The claims Mr. Williams brings are within the
    6    scope of the arbitration agreement, and his claim should be
    7    compelled to arbitration.
    8              Now, the final argument we advance in our motion,
    9    and I won't spend too much time on this, is the Motion to
   10    Strike the class allegations.
   11              Again, that goes back to the fact that plaintiffs
   12    have failed to state a cause of action and failed to add the
   13    necessary parties in this case because the class definition
   14    asks for LDF Holdings and tribal lending subsidiaries to
   15    return monies paid.      And, again, they're not in this lawsuit.
   16    So plaintiffs have failed to allege an ascertainable class,
   17    and those claims should be stricken.
   18              So in summary, Your Honor, the RICO claims haven't
   19    been properly pled, and the claims should be dismissed.             And
   20    because we're dealing with RICO, they need to be more
   21    specific on the enterprise.
   22              The indispensable parties have not been added to
   23    this lawsuit, nor can they, so this case cannot proceed.
   24    Even if you do find that it was adequately pled and the
   25    indispensable parties aren't needed, Mr. Williams' claim




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 22 of 55 Pageid#: 1786


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 22




    1    should be compelled to arbitration and the class claims
    2    should be stricken.
    3              Thank you, Your Honor.
    4              THE COURT:     Thank you.    For the plaintiff.
    5              MR. GUZZO:     Good afternoon, Your Honor, Andrew Guzzo
    6    on behalf of the plaintiffs.        Thank you for the opportunity
    7    to address the Court.
    8              I want to start today with really two big picture
    9    points from our perspective.        The first point is this motion
   10    really begins and ends with the Fourth Circuit's decision in
   11    Hengle.
   12              Defendants move to stay this case pending the Fourth
   13    Circuit's decision in Hengle.        In doing so, they argued that
   14    this case had overlapping core issues between the two cases.
   15    The Court granted this motion finding that it did.
   16              The Fourth Circuit's decision was a major loss for
   17    the industry in general and for these defendants
   18    specifically.
   19              In affirming Judge Novak's opinion, the Fourth
   20    Circuit expressly held that substantive state law applies to
   21    off-reservation conduct, and although the tribe itself could
   22    not be sued for its commercial activities, its members and
   23    officers can be.
   24              That's the direct holding from Hengle, and that's
   25    exactly what we've done here.        We've sued its members and its




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 23 of 55 Pageid#: 1787


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 23




    1    officers.    The tribe cannot shroud those people with immunity
    2    under Hengle.
    3                It also held that enforcement of the tribal choice
    4    of law provision would violate Virginia's compelling public
    5    policy against usurious lending.
    6                Following that ruling, Hengle has now settled.           The
    7    tribal officials in that case agreed to cancel over
    8    $450 million of debt, and their business partners are paying
    9    $39 million in cash back to consumers.
   10                Judge Novak preliminarily approved that settlement
   11    in May of 2022, and it's scheduled for final approval in
   12    October of 2022.     Our final approval brief is actually due
   13    today.   It's our case.
   14                This case parallels Hengle.      It's on all fours with
   15    it.   We didn't try to reinvent the wheel here.          The
   16    allegations and the theories are exactly the same.             The
   17    complaints are the same.
   18                We survived robust motions to dismiss in Hengle.
   19    Judge Novak wrote an 108-page opinion in that case that
   20    touches on pretty much every issue raised in this motion.
   21                We tailored our complaint, which was filed six
   22    months after Judge Novak's decision, to follow the blueprint
   23    in that case, which we were largely successful on in the
   24    district court and completely successful on in the Fourth
   25    Circuit.




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 24 of 55 Pageid#: 1788


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 24




    1               Just as in Hengle, at a high level, we allege that
    2    the president of the tribe oversees and controls the lending
    3    business by virtue of his executive position as the
    4    president.    This is the same allegation and the same theory
    5    as Hengle.
    6               In turn, we alleged that the president has
    7    authorized the creation of the lending businesses and
    8    oversees and supervises them, although he has delegated the
    9    day-to-day management to the co-defendants Chapman-Reynolds
   10    and Lorenzo.    These are the same allegations and theories as
   11    Hengle.
   12               In sum, we allege that they are the upper level
   13    management of a purely unlawful business that makes illegal
   14    loans in Virginia, Georgia, and elsewhere throughout the
   15    country.
   16               What I'm trying to say, in other words, is this
   17    isn't a case that involves a lawful business, such as a real
   18    estate brokerage firm, that happens to have a secret side
   19    scheme involving a few rogue employees.          The people that are
   20    overseeing this are overseeing a business that makes unlawful
   21    loans and nothing else.
   22               As a Northern District of California judge put it in
   23    another case involving my firm, Judge Orrick in the Brice
   24    matter, "Defendants were instrumental in setting up and
   25    knowingly setting up an enterprise whose sole purpose was to




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 25 of 55 Pageid#: 1789


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 25




    1    collect illegal debts thereby causing the acts to occur and
    2    reaping the benefits therefrom."
    3              That's our position in this case.          These are the
    4    high level executives.      This is what they do, and without
    5    them, it wouldn't be possible.
    6              Before I wrap up this point about Hengle, I want to
    7    note that it's not novel.       There are multiple opinions from
    8    Judge Locke in the Gibbs case supporting our position.             That
    9    case involved the same allegations and same theories.
   10              There were three settlements in that case totalling
   11    more than $780 million of debt cancellation and over $150
   12    million of repayments to consumers.
   13              Judge Locke wrote 11 different opinions in that case
   14    including multiple motions to dismiss from various different
   15    players involved in that enterprise who did a lot less than
   16    those involved in this case.
   17              There are also multiple opinions from Judge Payne in
   18    the Williams and Galloway litigation.         That litigation
   19    involves the same allegations and theories, except in that
   20    case we sued the actual tribal entity in Williams.
   21              Judge Payne found that the entity did not have
   22    immunity, but the Fourth Circuit reversed.           That is why
   23    Hengle was filed the way it was is because it came after
   24    Williams in the Fourth Circuit's decision in that case.
   25              Rather than suing the four entities involved in




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 26 of 55 Pageid#: 1790


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 26




    1    Hengle, we sued the officials, and the Fourth Circuit post
    2    Williams said that was completely okay and that they could be
    3    sued.
    4              There is also a decision from Judge Morgan in
    5    Solomon on these issues.       That case settled for $86 million
    6    in cash and $100 million in debt cancellation.
    7              Beyond Virginia there are decisions in
    8    Massachusetts, Oregon, Vermont, and the Commonwealth of
    9    Pennsylvania all supporting our position.          So, of course all
   10    of these other district court decisions are persuasive
   11    authority; however, the overwhelming authority is on our side
   12    in support of our position.
   13              The second high level point I want to make, Your
   14    Honor, is now that Hengle is controlling on most of these
   15    issues, the biggest divide between the parties really boils
   16    down to the pleading standard.
   17              They say the Court cannot accept our allegations
   18    because they are based on information and belief; thus, in
   19    their brief at page 35 they ask the Court to disregard
   20    allegations 3, 41, 43, 44, 49 through 50, 53 through 60, 62
   21    through 65, 67, 69, 70, and multiple other allegations.             This
   22    is where we outline that these defendants oversee and have
   23    control and are involved in this business.
   24              As Your Honor has explained in another case,
   25    pleading upon information and belief is appropriate when




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 27 of 55 Pageid#: 1791


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 27




    1    factual basis supporting a pleading is only available to the
    2    defendant at the time of the pleading.
    3              This is from Your Honor's opinion in McClain v.
    4    Carucci, 2011 Westlaw 1706810 at 4.
    5              Here it is completely acceptable to use upon
    6    information and belief because plaintiffs don't have access
    7    to this information.
    8              Indeed these companies intentionally try to hide the
    9    information related to their operation.          There is nothing on
   10    the tribe's website, even though they advertise and provide
   11    information related to other businesses.
   12              And this is intentional, Your Honor.          Multiple
   13    people have been convicted of felonies for their involvement
   14    in these schemes.     Scott Tucker, who was one of the pioneers
   15    of the tribal lending model, was convicted and sentenced to
   16    16 years in prison in 2018.       His conviction was upheld by the
   17    Second Circuit.
   18              Charles Hallinan, another pioneer of this lending
   19    scheme, was convicted and sentenced to 14 years in prison in
   20    the Eastern District of Pennsylvania.         His sentence and
   21    conviction was upheld by the Third Circuit.
   22              They intentionally try to conceal as much
   23    information as possible because of government enforcement
   24    actions, class actions, and criminal proceedings.            Because of
   25    this, we think that upon the information and belief




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 28 of 55 Pageid#: 1792


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 28




    1    allegations can be properly considered by the Court.
    2              Now turning to more specifically the defendants'
    3    arguments, I'm going to begin on the Manago decision, which
    4    is really an outlier, but since it was highlighted
    5    significantly by the defendants, I'll start there.
    6              In that case, the Maryland court agreed to dismiss
    7    the RICO claims as to tribal officials because it only sought
    8    injunctive relief.      Here our RICO claims do not seek
    9    injunctive relief.      We have a declaratory judgement claim
   10    solely against the president of the tribe, but we seek
   11    monetary relief against the individuals involved.
   12              This is permissible under the Supreme Court's
   13    decision in Lewis v. Clark.       Our brief thoroughly addresses
   14    this point that we can go after the individuals for their
   15    involvement for monetary relief.
   16              As to the non-tribal defendants in the Manago
   17    decision, the Court found that the plaintiffs failed to
   18    adequately allege an enterprise.        That's it.     That was the
   19    sole basis that the Court dismissed the RICO claim.
   20              There are three problems with the defendants'
   21    reliance on this point.       First, the defendants never moved to
   22    dismiss on this ground.       Instead they complained that it
   23    failed on several other grounds; namely, that we did not
   24    plead a distinct enterprise because all their actions were
   25    taken within their roles as individuals and employees of the




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 29 of 55 Pageid#: 1793


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 29




    1    various entities, but they never moved to dismiss in their
    2    original pleading citing the same argument was cited in
    3    Manago.
    4                I think the Court should hold them to their
    5    pleadings raised in their Motion to Dismiss, and it's unfair
    6    to let them now piggyback off a decision years later from
    7    when the briefing was completed.
    8                Second, the Maryland court found that the plaintiffs
    9    in that case failed to allege what roles and responsibilities
   10    the defendants had in maintaining the enterprise.            Here we
   11    have done this.
   12                As I said before, we alleged the president
   13    supervises and oversees the tribe's lending business, and we
   14    further alleged that Reynolds and Lorenzo handled the
   15    day-to-day operations.
   16                Rule 8 does not require us to detail every action
   17    taken by them, and there is no heightened pleading standard
   18    under a RICO case for unlawful debt collection.
   19                Multiple courts have decided this.        It's a Rule 8
   20    pleading.    There is no heightened pleading standard.           This
   21    isn't a fraud case, and we don't have to comply with Rule 9
   22    here.
   23                The third point I would make regarding the Manago
   24    decision is that it wrongly applied binding precedent from
   25    the Supreme Court.      In particular, the Maryland decision




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 30 of 55 Pageid#: 1794


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 30




    1    found that the plaintiffs failed to show, and I'm quoting,
    2    "the specific nature of the structure of the enterprise and
    3    what roles and responsibilities each defendant had."             Again,
    4    the specific nature of the structure and what roles and
    5    responsibilities.
    6              But in Boyle the Supreme Court expressly noted that
    7    there was no requirement that an enterprise have a hierarchal
    8    structure or a chain of command and that decisions may be
    9    made on an ad hoc basis and by any number of methods.
   10              The Supreme Court further added in that case that
   11    members of the group need not have fixed roles.            Different
   12    members may perform different roles and at different times,
   13    and the group need not have a regular name, regular meetings,
   14    dues, established rules and regulations.
   15              So when the Maryland court found that the specific
   16    nature of the structure and what roles and responsibilities
   17    were lacking, I would submit that that is contrary directly
   18    to the Supreme Court's decision in Boyle that there needs to
   19    be no hierarchal structure or chain of command.            There only
   20    needs to be alleged relationships between the parties, and
   21    here we allege the relationships.
   22              They're the president of the entities or the
   23    executives.    Essentially, you know, it's a government entity,
   24    but one is considered the owner and others are the chief
   25    executive officer making all the decisions.




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 31 of 55 Pageid#: 1795


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 31




    1               So for those reasons, we don't think Manago is
    2    persuasive, and we certainly think the overwhelming majority
    3    of the decisions in the other cases are certainly more
    4    persuasive.
    5               With respect to the Motion to Dismiss -- now getting
    6    to the four overarching grounds for dismissal raised by the
    7    defendants.    I'm going to start with the 12(b)(6) Motion to
    8    Dismiss.
    9               Counsel stated in his argument that we have no
   10    allegations that our clients made any payments.            That is just
   11    contrary to the allegations in the complaint.           At paragraph
   12    89 of the complaint we allege that Mr. Aaron Fitzgerald --
   13    that the defendants received no less than $4,860.87 from
   14    Mr. Fitzgerald.     That's at paragraph 89.
   15               At paragraph 94 we allege that the defendants,
   16    together with the others in the lending enterprise, received
   17    no less than $104.88 from Ms. Fitzgerald.          And at paragraph
   18    99 we allege that defendants, together with other members of
   19    the enterprise, received no less than $10,892.
   20               All of this money is illegal debt under RICO which
   21    defines unlawful debt as debt that's unenforceable under
   22    state or federal law as to principal or interest due to laws
   23    relating to usury.
   24               Now, Virginia and Georgia, as we have explained in
   25    our papers, make both the principal and the interest illegal




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 32 of 55 Pageid#: 1796


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 32




    1    and unenforceable, and, therefore, all payments made by our
    2    plaintiffs are sufficient to allege an injury.
    3                On top of that, the defendants' argument is belied
    4    by the structure of the loan agreements themselves.            These
    5    agreements work like a loan, as we've pointed out in our
    6    papers, like a mortgage.
    7                Every payment that is made by a consumer goes in
    8    part to principal and in large part to interest.            So by
    9    alleging that they made payments on these loans, including
   10    $10,000 of payments, it can be reasonably inferred that the
   11    plaintiffs repaid both usurious principal and interest, and
   12    we allege that they also still owe outstanding money on the
   13    loans.
   14                One other point to make in response to counsel's
   15    argument.    This isn't a racketeering case.         The statute
   16    creates two predicate acts.       One is the pattern of
   17    racketeering, and the other one is the collection of unlawful
   18    debt which contains no pattern requirement.
   19                It's not a racketeering case which has a very
   20    specific definition under the statute as opposed to
   21    collection of unlawful debt which requires, as court after
   22    court has explained, no direct collection effort by the
   23    defendant but participation in the operation or management of
   24    the affairs of the enterprise.
   25                A few other points to make with respect to the




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 33 of 55 Pageid#: 1797


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 33




    1    12(b)(6).    They've argued that it's a shotgun pleading
    2    because we failed to articulate what each one of them did.
    3    We've explained that they are the high level executives, and
    4    RICO is a group theory of liability.
    5                The pleading isn't a group pleading or a shotgun
    6    pleading.    We explain how they've conducted the affairs of
    7    the enterprise, and there is a sufficient nexus between the
    8    defendants and the enterprise that they can be held
    9    responsibile for the ACH collection of the entity.
   10                As the Dugan Court explained in addressing this same
   11    argument, the Massachusetts court said, "A sufficient nexus
   12    or relationships exists between the predicate act and the
   13    enterprise if the defendant was able to commit the predicate
   14    act by means or by consequence by reason of agency of his
   15    association with the enterprise."
   16                RICO doesn't prohibit collection of the unlawful
   17    debt.   It's not a statute like the Fair Debt Collection
   18    Practices Act that holds a single debt collector
   19    responsibile.     It's a statute that holds groups responsibile
   20    and recognition that groups are more dangerous than
   21    individuals, and anyone who is involved in this enterprise
   22    that's collecting the debt can be as long as they are
   23    managing the affairs or participating in the enterprise.
   24                With respect to defendants' arguments that we failed
   25    to allege when, who, how much the interest was that was paid,




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 34 of 55 Pageid#: 1798


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 34




    1    and who it was paid to, we allege Mr. Fitzgerald received
    2    five loans from the subsidiaries, that Ms. Fitzgerald
    3    received one, and that Mr. Williams received at least five.
    4    That's in paragraph 86, paragraph 90, and paragraph 95.
    5              We allege that the interest rates in these were all
    6    triple digits, which is 20 to 50 times Virginia and Georgia
    7    law, and that's the critical component that makes these debts
    8    unlawful debts under RICO.
    9              We don't need to allege when or -- there's no
   10    pleading requirement as to that.        And the defendants attached
   11    the loan contracts in this case, at least with respect to
   12    Mr. Williams, to their pleadings.         It was within the four
   13    years that would be within the statute of limitations for
   14    RICO.
   15              So I don't think it really should be necessary for
   16    us to go back and have to say he took out this loan in 2017
   17    or whenever it was.      I mean, they know the information.         It
   18    just seems like kind of a waste of time to have us go back
   19    and do that.
   20              With respect to their argument that the president of
   21    the tribe has now switched since the complaint was filed,
   22    it's just appropriate to substitute him in.           This isn't the
   23    first case where there has been an official capacity suit
   24    against the president or head of an agency, and courts,
   25    including the Second Circuit in the Gingras matter, said that




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 35 of 55 Pageid#: 1799


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 35




    1    the defendant can't just moot the case by switching the
    2    individual involved.      It runs with the position.
    3              So if we need to just substitute whoever the new
    4    president is, that's an easy way to do it.           We did it in
    5    Hengle.   On multiple occasions throughout that case different
    6    members of their tribal council had turned over, so we
    7    substituted three of them at various times in the litigation.
    8    That's the appropriate course of action for that argument.
    9              With respect to -- one of the central arguments in
   10    their brief on the Motion to Dismiss is that we have failed
   11    to allege a distinct enterprise as opposed to the individuals
   12    running it.
   13              That argument is directly contrary to the Supreme
   14    Court's decision in Cedric Kushner.         We've briefed that at
   15    length, and I just wanted to highlight that for the Court.
   16              With respect to the declaratory judgement count, the
   17    Declaratory Judgement Act allows a federal court in a case or
   18    actual controversy to declare the right and legal relations
   19    of any interested party seeking a declaration whether or not
   20    it is entitled to further relief that could be sought.
   21              This Court has said the test for that is whether the
   22    complaint alleges an actual controversy.          The Court possesses
   23    an independent basis for jurisdiction, and the Court does not
   24    abuse its discretion.      That's the test.
   25              Unquestionably we meet all of these requirements.




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 36 of 55 Pageid#: 1800


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 36




    1    There is an actual controversy as evidenced by the papers.
    2    We think the loan is void.       They think it's perfectly
    3    legitimate and enforceable, and they continue to accrue
    4    interest on the loan.      Determining parties' rights with
    5    respect to a contract is the classic example of -- one of the
    6    classic examples of when the party can use the Declaratory
    7    Judgement Act.
    8              The Court possesses an independent basis for
    9    jurisdiction under RICO, and if necessary, we could plead
   10    that the Court would have an independent basis under the
   11    Class Action Fairness Act because the plaintiffs and the
   12    defendants are from different states, and the amount in
   13    controversy is over $5 million.
   14              That, admittedly, is not in our complaint, Your
   15    Honor, but if we needed to go back and do that for an
   16    independent basis for jurisdiction, we certainly could.
   17              In addition, we could allege in an amended complaint
   18    that the loans violated Virginia usury laws and Georgia laws
   19    which entitles the plaintiffs to injunctive and declaratory
   20    relief as was found by Judge Novak in Hengle.           Judge Novak
   21    also allowed us to proceed on count 6 in Hengle on a pure
   22    declaratory judgement claim.
   23              With respect to their argument that -- really
   24    briefly, Your Honor, as to the necessary parties argument,
   25    this is foreclosed by Hengle.        The Court there said




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 37 of 55 Pageid#: 1801


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 37




    1    substantive state law applies to off-reservation conduct, and
    2    the tribe's members can be sued.
    3              Judge Novak dealt with this argument at length in
    4    the district court opinion, and necessary parties aren't
    5    subject to an appeal as a matter of right.           So that was
    6    not -- it did not go up to the Fourth Circuit on the
    7    interlocutory appeal.
    8              I think one of the implicit results of the Fourth
    9    Circuit's decision is that members and officers can be sued
   10    in federal court for violations of state and federal law, and
   11    that's also implicit from the Supreme Court's decision in Bay
   12    Mills, which was heavily relied on by the Fourth Circuit in
   13    reaching its decision in Hengle.
   14              Now turning to the arbitration issue, Your Honor.             I
   15    want to begin by answering from my perspective your question
   16    that you asked to counsel about what if the arbitrator wants
   17    to apply state law in the arbitration.          The answer to that is
   18    the arbitrator, he or she, can't.
   19              Arbitration is a matter of contract.          They're not
   20    judges.   They don't get to, like judges, look to the rules
   21    and apply and use the authority that is given to them under
   22    the Constitution and the federal rules.          They are bound by
   23    what the contract allows them to do.
   24              So here the contract would not allow an arbitrator
   25    to apply state laws or to consider an argument that




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 38 of 55 Pageid#: 1802


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 38




    1    Virginia's public policy against usurious lending renders the
    2    contract unenforceable and violates the Prospective Waiver
    3    Doctrine.
    4                A few more points on the arbitration clause, Your
    5    Honor.    There has been five case from the Fourth Circuit on
    6    this issue, Hayes, Dillon, Gibbs, Gibbs, and Hengle.             Four
    7    out of the five of those my firm was heavily involved in.
    8    Four out of the five of them dealt with different contracts,
    9    but the Fourth Circuit found them materially
   10    indistinguishable.
   11                There is a myriad of different ways that someone can
   12    violate the Prospective Waiver Doctrine.          Here they really
   13    did in three independent ways that we think suffice, any one
   14    of which to render it unenforceable.
   15                First, there is an express waiver in the contract.
   16    The dispute procedure itself says it's considered to be a
   17    petition for redress submitted to a sovereign government, and
   18    it does not create any binding procedural or substantive
   19    rights.   If a consumer is unhappy with the tribe's
   20    adjudication of that dispute, it's only subject to
   21    arbitration of that dispute.
   22                We repeatedly cite this as the problem in our
   23    briefing.    In response, in their rebuttal brief defendants
   24    said nothing.     The argument they have today is new, and I'm
   25    going to address that in just a second.




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 39 of 55 Pageid#: 1803


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 39




    1              But after the briefing concluded in this case, Judge
    2    Payne in Williams said that this provision, even though there
    3    was a choice of law clause that said applicable federal law
    4    was one of the reasons why that contract was a prospective
    5    waiver of borrower's rights.
    6              That case is now going up to the Fourth Circuit for
    7    arguments in October.      So we're going to have some more
    8    insight as to what the Fourth Circuit thinks about that
    9    provision.
   10              But what counsel said today is that the provision is
   11    saved because it references that the disputes subject to
   12    arbitration are tribal, federal, and state law claims,
   13    therefore they must be arbitrable.
   14              The Fourth Circuit expressly rejected this argument
   15    in Hengle.    In doing so, they said that such language does
   16    not counteract the effect of the choice of law provisions.
   17    Indeed, each of the arbitration agreements in Hayes, Dillon,
   18    Haynes and Sequoia required federal claims to be sent to
   19    arbitration, but the Court in each case nonetheless found the
   20    agreements prevented the effective vindication of federal
   21    rights.
   22              So the Court concluded, if anything, the inclusion
   23    of this language that has been cited by the defendants
   24    highlights that the arbitration provision is an impermissible
   25    tactic of compelling arbitration of federal claims only to




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 40 of 55 Pageid#: 1804


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 40




    1    nullify those claims by precluding the application of federal
    2    law in the arbitration.       So that provision absolutely does
    3    not save them.
    4              The second basis for the prospective waiver in this
    5    case, Your Honor, is that the tribal code mirrors the
    6    problematic codes that the Fourth Circuit found in Gibbs.
    7              These codes were drafted by the same law firm.            The
    8    contracts were drafted by the same law firm who is involved
    9    with both of these tribes, and noticeably absent from their
   10    code is required compliance with RICO, which is the only
   11    federal statute that would govern the loans at issue, or
   12    certainly the central one.
   13              The tribal code does not allow for claims against
   14    anyone other than the lending entity, and it doesn't create a
   15    private cause of action.       For all of these reasons, the Court
   16    found in Gibbs that the tribal codes were further evidence of
   17    these contract's attempts to waive federal law.
   18              And here the code is actually worse, and we've
   19    pointed this out in our briefing.         The tribal code, the law
   20    that must be applied by the arbitrator, states that in any
   21    proceeding in which a licensee is a party in interest with
   22    respect to the transaction, the licensee's rights and
   23    remedies shall be granted upon prima facie proof of
   24    entitlement based on the terms of the written transaction and
   25    the payment and business records maintained by the licensee.




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 41 of 55 Pageid#: 1805


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 41




    1    That's at docket 50-1, page 34.        It's LDF code section
    2    8.4(i)(3).
    3                This essentially mandates an automatic win for the
    4    licensee, including their employees who are also defined as
    5    part of the licensee.
    6                These laws cannot simply be ignored by an
    7    arbitrator.    They are bound to apply tribal law under the
    8    contract, and arbitration is solely a matter of contract.
    9    This is exactly why we have the Prospective Waiver Doctrine
   10    and why the Fourth Circuit has repeatedly struck down similar
   11    contracts.
   12                In addition, the final basis we would say that the
   13    contract violates the Prospective Waiver Doctrine is that in
   14    Hengle the Fourth Circuit expanded the doctrine.            It took
   15    issue with the fact that the contract repeatedly waived state
   16    law as a basis for finding a violation -- it took issue with
   17    the state law waivers finding that that was also part of the
   18    prospective waiver.
   19                Again, as I said at the beginning of the part about
   20    the arbitration, this case highlights the importance of
   21    disclaiming a state law in arbitration.          An arbitrator could
   22    not apply Virginia's or Georgia's public policy against
   23    usurious lending.     They're just bound by the terms of the
   24    contract.
   25                So for all those reasons, Your Honor, we think that




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 42 of 55 Pageid#: 1806


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 42




    1    this falls squarely within the Fourth Circuit precedent as to
    2    those issues.
    3              One final point, Your Honor, before I wrap it up.
    4    To the extend the Court finds any deficiencies in the
    5    complaint, we've asked for leave to amend.           We haven't
    6    amended the complaint to date.        It was filed over two years
    7    ago, July 24th, 2020.
    8              We certainly, I think, can clean up any of the
    9    deficiencies that have been raised, including more
   10    allegations, for example, about the tribal council and
   11    substituting parties.
   12              So with that, unless the Court has any questions for
   13    me, that wraps up what I have to say.
   14              THE COURT:     Okay.   Thank you.
   15              MR. GUZZO:     Thank you.
   16              THE COURT:     Mr. McAndrews?
   17              MR. MCANDREWS:      Your Honor, you cut out there.
   18              THE COURT:     Yes, go ahead.
   19              MR. MCANDREWS:      I just have a couple of points.
   20    First, the whole diatribe about Scott Tucker and all these
   21    other cases and all these other lending enterprises that have
   22    nothing to do with LDF are also in the complaint, and they
   23    kind of highlight the nature of the complaint.
   24              The plaintiffs want to talk about all these other
   25    cases or all these other tribal lending systems, but that's




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 43 of 55 Pageid#: 1807


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 43




    1    not -- that has nothing to do with LDF.          So, you know,
    2    striking that as just immaterial from the get-go, we asked
    3    for that in the motion and from this oral argument because
    4    that's all irrelevant.
    5              What is also irrelevant is the settlements in these
    6    other cases.    These are very different cases.         They all deal
    7    with different business structures, different loan
    8    agreements, different arbitration agreements.
    9              I congratulation the plaintiffs' counsel on the
   10    Hengle settlement as well.       In Hengle, though, Your Honor, as
   11    I stated earlier, it's a fundamentally different agreement.
   12    It has a different choice of law provision that only allows
   13    application of tribal law.
   14              Also in Hengle, what the Court principally said was
   15    that individual defendants -- the issue before that Court was
   16    whether these individual defendants are cloaked with
   17    sovereign immunity, and that was the issue that they said,
   18    no, they aren't cloaked with sovereign immunity like the
   19    tribe.   If you noticed, we're not advancing that argument
   20    here in this oral argument.
   21              So that's why the case was stayed, because if the
   22    Fourth Circuit would have said that individual defendants are
   23    cloaked with sovereign immunity, then obviously the
   24    plaintiffs couldn't move forward in this case.           So that's the
   25    limited ruling that was the similarity or that was the




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 44 of 55 Pageid#: 1808


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 44




    1    overlap in the Hengle cases.
    2              But, again, in Hengle what it said about the
    3    arbitration agreement and whether or not it's unconscionable
    4    or violates public policy, that's not applicable here mainly
    5    because it's a different agreement.
    6              Second, Mr. Williams is a Georgia resident.            Hengle
    7    analyzed whether the arbitration agreement was in violation
    8    of Virginia public policy, not Georgia's public policy, so
    9    that's also a huge difference in those cases as well.
   10              As for the discussion about the necessary parties
   11    and that the Hengle case actually made a decision about that,
   12    I want to clarify just what Mr. Guzzo said.
   13              That issue was not before the Fourth Circuit.
   14    Whether or not the tribe needs to be a necessary party, that
   15    wasn't analyzed by the Fourth Circuit.          Again, when it was
   16    discussed at the trial or the district court level, it was in
   17    regards to whether or not individual defendants were cloaked
   18    with sovereign immunity, and that's some nuances there and a
   19    lot different.
   20              I heard a lot in the argument also that the
   21    plaintiffs have alleged that the defendants in this case, the
   22    individual defendants, have overseen lending operations and
   23    that they are high level executives, but they don't ever go
   24    forward and explain what they oversaw and how they oversaw.
   25              Again, we're kind of two years in.          I think as




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 45 of 55 Pageid#: 1809


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 45




    1    Mr. Guzzo said, he's dealt with a lot of different tribal
    2    lending entities.     He knows how to get the information before
    3    filing suit because we've seen it in other complaints.             We
    4    cite to it in our reply brief.        A lot of this is public
    5    information.
    6               THE COURT:    Question:    If you are in fact, you know,
    7    charged an outrageous illegal amount of interest on these
    8    loans, what difference does it make about how they managed to
    9    do it?
   10               I mean, why isn't it enough to say, look, here is
   11    the contract that says I have to pay 120 times what the legal
   12    rate is?    It doesn't make any difference what the
   13    mechanization is or how the money gets back to the lender.
   14               MR. MCANDREWS:     Well, again, if the individual
   15    tribal lending entity that actually charged that illegal
   16    interest rate was named in this lawsuit, that would be a
   17    relevant issue, but they haven't been.
   18               Again, you've got to remember the individual
   19    defendants in this lawsuit are being individually named in
   20    their individual capacity, so they haven't explained how
   21    these individual defendants took steps outside of their
   22    employment to conspire to charge illegal loans and to collect
   23    or to receive any benefit of those illegal loans.
   24               Again, separating the fact that the tribal lending
   25    entities and the tribe hasn't been named, these individual




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 46 of 55 Pageid#: 1810


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 46




    1    defendants, you know, have a shoestring connection here.             So
    2    in all fairness, their individual assets are on the line, so
    3    that's why it's important that we find out exactly what the
    4    plaintiffs are alleging for those individual defendants.
    5              THE COURT:     Well, why in this case since -- how
    6    would anyone know necessarily how these people worked
    7    together to do this?
    8              MR. MCANDREWS:      Well, I suppose that they could do a
    9    pre-suit investigation, Your Honor.         Also, I might point out
   10    that the loan agreements, which plaintiffs all have their
   11    loan agreements, and on page one at the very bottom it
   12    actually fully dives into the fact that the tribe, and
   13    they're a federally-registered tribe, they own the business
   14    development corp.
   15              They explain the ownership structure in the loan
   16    agreement, which is in the hands of all the plaintiffs.             They
   17    actually get e-mailed a copy.        So purely on the face of the
   18    loan agreement they can figure this out and make these
   19    allegations.
   20              THE COURT:     Okay.   Go ahead.
   21              MR. MCANDREWS:      As far as -- so the plaintiffs also
   22    mentioned that they had at paragraphs 89 and 94 made all the
   23    facts they need about the loans, but if you actually look at
   24    these allegations, it just says that they received no less --
   25    that the defendants received no less, and then they state a




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 47 of 55 Pageid#: 1811


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 47




    1    certain amount.
    2              But, again, they don't state how these defendants
    3    received that amount, and they don't explain anything about
    4    the loans.    I don't even know if that amount is the amount of
    5    the loans because that's not how they pled that.
    6              They basically said that the defendants somehow
    7    collected from Mr. Fitzgerald, or just actually got a benefit
    8    of $4,000 in connection with Mr. Fitzgerald.           So, again,
    9    alleging the loans is key to making most of their causes of
   10    action in the complaint.
   11              I will say briefly on the Intracorporate Conspiracy
   12    Doctrine plaintiffs cited to, and we do brief the issue of
   13    the Supreme Court's case in Cedric Kushner, first of all,
   14    that was a different type of RICO cause of action than we
   15    have here in this case.
   16              After the Cedric Kushner case, the Supreme Court
   17    case, the Fourth Circuit in Walter v. McMann actually
   18    analyzed the Cedric Kushner case and found that plaintiffs
   19    still need to allege that a person in a separate corporation
   20    in order to allege an enterprise.         So I direct the Court to
   21    the Walter v. McMann case regarding their argument on the
   22    Cedric Kushner case.
   23              Finally, Your Honor, again, all the cases cited by
   24    plaintiffs that I went through in my opening, and Mr. Guzzo
   25    actually restated them, they all have different loan




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 48 of 55 Pageid#: 1812


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 48




    1    agreements.    They all have different arbitration clauses.
    2    All those cases he cited required application of tribal law.
    3    Ours allows application of a federal law; therefore, it's not
    4    unconscionable, and it's not in violation of --
    5              THE COURT:     You say that allows application of
    6    federal law.    What application of federal law?
    7              MR. MCANDREWS:      So this goes back to, Your Honor,
    8    sovereign immunity.      The tribe under the Indian
    9    Reorganization Act was basically given it's authority to act
   10    as a state -- it acts as a similar state government equal to
   11    those of the states, meaning that other state laws cannot
   12    regulate or apply to the conduct of the tribes or the tribe's
   13    corporations.
   14              THE COURT:     What I'm getting to is your position
   15    that they have a right to charge rates above the legal limit
   16    of these states.
   17              MR. MCANDREWS:      Yes, Your Honor.     It's not because
   18    of immunity.    It's because all of these loans are approved,
   19    given, and operated through, and entered into on the tribal
   20    reservation where they are legal.         So really the issue is
   21    whether it's on- or off-reservation conduct, which again is
   22    something that the arbitrator can decide.
   23              If the arbitrator hears the facts and says, you know
   24    what, this is off-reservation conduct, I suppose that's
   25    something the arbitrator could do, but that's really the




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 49 of 55 Pageid#: 1813


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 49




    1    issue.
    2              So to say that our loans are subject to Virginia
    3    law, we would assert as a defense that, no, because the loans
    4    were consummated on the tribe's reservation, again, which
    5    acts as a sovereign state.
    6              THE COURT:     How do these other cases come out saying
    7    that there is no sovereign immunity that would allow you to
    8    charge the unlawful rates?
    9              MR. MCANDREWS:      Your Honor, there are actually no
   10    cases that have found that.       What they've said is that the
   11    individual defendants are not cloaked with the same sovereign
   12    immunity as the tribe and the tribal lending corporations.
   13    That's what the distinction is.
   14              So we're talking about tribal sovereign immunity,
   15    and kind of what I think you're talking about or more what
   16    the issue is is where do -- what laws apply to the loan when
   17    the loan is being consummated and given on the tribe's
   18    reservation.
   19              THE COURT:     Okay.   Why is it that your tribe can
   20    charge the unlawful rate and these others cannot?            Is it just
   21    because of the way you drew the contract?
   22              MR. MCANDREWS:      So, Your Honor, to say these others
   23    cannot, there has been really -- all those cases that
   24    Mr. Guzzo cited to, they've settled.         So they've agreed to
   25    out-of-court settlements, and I believe all of the




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 50 of 55 Pageid#: 1814


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 50




    1    settlements, including the one in Hengle, which is publicly
    2    filed, there is no admission of liability.
    3                So I don't know that there has actually been a
    4    finding on that.     That actually is an issue, Your Honor,
    5    that's probably ripe for the Supreme Court.           There is a
    6    circuit split.     You have the Sixth Circuit -- it's a circuit
    7    split on the issue of whether or not giving loans is off- or
    8    on-reservation conduct.
    9                Of course, the Sixth Circuit has said, no, loans are
   10    -- those are actually on-reservation conduct because the
   11    loans are being consummated and given on the tribe, and other
   12    circuits have differed on that, but the issue has not
   13    actually been presented at the Supreme Court.
   14                THE COURT:   Okay.   So why wouldn't that be the first
   15    question?    If you can't charge -- if the tribe cannot charge
   16    the unlawful rate, why go further?
   17                Why go to all these other things?        Why wouldn't the
   18    Fourth Circuit just say the tribe can do it?
   19                MR. MCANDREWS:    I mean, as far as in Hengle, I don't
   20    know that they -- I don't specifically know if that issue was
   21    presented.    I can't recall.     But if it was, there is still a
   22    split in the circuit.
   23                Again, my clients are up in Wisconsin.         Even if the
   24    Fourth Circuit said, yeah, those are -- you know, you can't
   25    charge illegal loans, that's off-reservation conduct, again,




                     Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 51 of 55 Pageid#: 1815


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 51




    1    there is a split in the circuit and what laws apply.             I think
    2    this all goes back to kind of --
    3               THE COURT:    Wouldn't I have to apply Fourth Circuit
    4    law?
    5               MR. MCANDREWS:     I'm sorry, what?
    6               THE COURT:    Wouldn't I have to apply Fourth Circuit
    7    law?
    8               MR. MCANDREWS:     To our loan agreement?       The
    9    arbitrator could, if that's what you're asking.
   10               THE COURT:    No, I'm asking about me.       In deciding
   11    this case, shouldn't I be applying Fourth Circuit law?
   12               MR. MCANDREWS:     Yes, in regards to whether or not a
   13    claim has been properly brought and indispensable parties.
   14    But, again, the arbitration agreement, Your Honor,
   15    Mr. Williams is down in Georgia.        We assert, I think in our
   16    reply brief on page 6, that actually Georgia law and its
   17    circuits apply.
   18               THE COURT:    Okay.   Go ahead.
   19               MR. MCANDREWS:     I think, Your Honor, that is it for
   20    my rebuttal.
   21               THE COURT:    All right.    Thank you.     That's been very
   22    helpful.    We'll adjourn the hearing.
   23               MR. GUZZO:    Your Honor, I know Mr. McAndrews is
   24    entitled to the last word here, but if I could just say one
   25    thing for 30 seconds real quick here.




                    Cynthia L. Bragg, Official Court Reporter
Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 52 of 55 Pageid#: 1816


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 52




    1              THE COURT:     You may, and he may respond.
    2              MR. GUZZO:     Okay.   So with respect to whether the
    3    conduct is on- or off-reservation, that was one of the
    4    central issues in Hengle, and here is what the Fourth Circuit
    5    said:   "The tribal officials assert that the conduct at issue
    6    here occurred on the reservation unlike the off-reservation
    7    conduct in gaming in Bay Mills.        But as the district court
    8    observed, the conduct at issue here is where the parties made
    9    and accepted the agreements."
   10              "For example, the defendants allegedly marketed
   11    their lending business throughout the country, including in
   12    Virginia, to plaintiffs who resided on non-Indian lands where
   13    they applied for their loans."
   14              "Defendants also collected loan payments from the
   15    plaintiffs while they resided in Virginia from bank accounts
   16    maintained there, and the effects of defendants' allegedly
   17    illegal activities were felt by the plaintiffs in Virginia."
   18              "These activities are directly analogous to lending
   19    activities that courts have found clearly constitute
   20    off-reservation conduct subject to state law."
   21              Indeed, the tribal officials have not brought to our
   22    attention any court reaching a contrary conclusion.            I don't
   23    know what Sixth Circuit case Mr. McAndrews is talking about,
   24    but the Fourth Circuit was very clear on this point, and that
   25    is that Virginia law applies to this conduct because it is




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 53 of 55 Pageid#: 1817


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022 53




    1    off-reservation conduct done over the internet when the
    2    consumer is in Virginia.
    3              To say that a consumer may go on the internet and do
    4    all things in their home state and that it's subject to the
    5    law of somewhere else, whether it could be Canada or
    6    Wisconsin or California, Virginia has a strong interest in
    7    policing the individuals within their border, and the Fourth
    8    Circuit definitively decided this issue.          It's one of the
    9    central and most important holdings in Hengle.
   10              Thank you, Your Honor.
   11              THE COURT:     All right.    Would the plaintiff like to
   12    respond to that?
   13              MR. MCANDREWS:      Yeah.   The issue of on- and
   14    off-reservation conduct is not an issue of this motion,
   15    because now we're getting in the substantive actual claims
   16    here which have not even been properly pled.           So I do kind of
   17    caution the Court down this path that now we're talking about
   18    substantive law.
   19              In regards to Mr. Williams, we're now talking about
   20    an issue that should be in front of the arbitrator.            The
   21    arbitrator should be deciding whether or not on- or
   22    off-reservation conduct is subject to certain state laws.
   23    That can be for the arbitrator to decide.
   24              Again, Your Honor, this is a Motion to Dismiss on
   25    whether or not even the claims have been properly pled or




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 54 of 55 Pageid#: 1818


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022




    1    they're the necessary parties.         So even to get to that
    2    substantive, now we're talking about kind of what's going to
    3    happen in summary judgment if that case moves forward.
    4                THE COURT:    All right.    No further argument, but
    5    plaintiffs' counsel mentioned wishing to amend.           How much
    6    time do you need to file amendments?
    7                MR. GUZZO:    Twenty-one days, Your Honor.
    8                THE COURT:    Okay.   We'll allow you 21 days to file
    9    any amendments.     Defense counsel, let us know within -- how
   10    many days after that would you like to raise any other issues
   11    or file any other pleadings?
   12                MR. MCANDREWS:    Thank you, Your Honor.      I'll let you
   13    know.
   14                THE COURT:    I mean, how many days would you like?
   15                MR. MCANDREWS:    Oh, if I could get 30.
   16                THE COURT:    Okay.
   17                MR. MCANDREWS:    I appreciate it.
   18                THE COURT:    All right.    Well, 30 and 30 then.     Thank
   19    you all very much.       I appreciate you.
   20                MR. MCANDREWS:    Thank you, Your Honor.
   21                MR. GUZZO:    Thank you, Your Honor.
   22                THE COURT:    Thank you.
   23                (Proceedings concluded at 3:15 p.m.)
   24                                 CERTIFICATION
   25            I certify that the foregoing is a correct transcript




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Case 3:20-cv-00044-NKM-JCH Document 105 Filed 11/04/22 Page 55 of 55 Pageid#: 1819


         Fitzgerald, et al v. Wildcat, et al - 3:20cv44 - Hearing Held 9/21/2022




    1    from the record of proceedings in the above-entitled matter.
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    4                  _________________/s/_________________
    5                               Cynthia L. Bragg
    6                               November 4, 2022
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